                                     Case 19-10870              Doc 1     Filed 04/22/19           Page 1 of 20




United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number ~~fk~wn~                                                      Chapter.._._   11
                                                                                                                      ❑ Check if this an
                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       4/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document,Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               Fuse Media, Inc.

2.    All other names debtor
      used in the last 8 years
      Include any assumed         FKA SiTV Media, Inc.
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number(EIN)


4.    Debtor's address            Principal place of business                                  Mailing address, if different from principal place of
                                                                                               business

                                  700 North Central Avenue
                                  Suite 600
                                  Glendale, CA 91203
                                  Number, Street, City, State &ZIP Code                        P.O. Box, Number, Street, City, State &ZIP Code

                                  L.os Angeles                                                 Location of principal assets, if different from principal
                                  County                                                       place of business

                                                                                               Number, Street, City, State &ZIP Code


 5.   Debtor's website(URL)       www.fuse.ty


 6.   Type of debtor              ■Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  ❑ Partnership (excluding LLP)
                                  ❑ Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 1
                                           Case 19-10870              Doc 1         Filed 04/22/19               Page 2 of 20
Debtor       Fuse Media, InC.                                                                             Case number (if known)
             Name


7.   Describe debtor's business A. Check one:
                                           ❑ Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                           ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                           ❑ Railroad (as defined in 91-U.S,C.-§-101(44)) -
                                           ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ■ None of the above

                                           B. Check all that apply
                                           ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                           ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           ❑ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                              See http~//www uscourts.gov/four-digit-national-association-naics-codes.
                                                  5152

8.   Under which chapter of the            Check one:
     Bankruptcy Code is the                ~ Chapter 7
     debtor filing?
                                           ❑ Chapter 9
                                           ■ Chapter 11. Check all that apply:
                                                               ❑     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                     are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the debtor is a small
                                                                     business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                     statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                     procedure in 11 U.S.C. § 1116(1)(6).
                                                                ■    A plan is being filed with this petition.
                                                                ■    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                     accordance with 11 U.S.C. § 1126(b).
                                                                ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                     Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                     attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                     (Official Form 201 A) with this form.
                                                                ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           ❑ Chapter 12



9.   Were prior bankruptcy          ■ No.
     cases filed by or against
     the debtor within the last 8 Q Yes.
     years?
     If more than 2 cases, attach a
                                          District                                            When                                 Case number
     separate list.
                                          District                                            When                                 Case number


10. Are any bankruptcy cases               ❑ No
    pending or being filed by a
    business partner or an                 ■Yes.
    affiliate of the debtor?
         List all cases. If more than 1,                                                                                       Relationship            Affiliate
         attach a separate list                     Debtor     See Rider 1
                                                    District   Delaware                       When                             Case number, if known




 Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                    Case 19-10870               Doc 1        Filed 04/22/19            Page 3 of 20
Debtor                                                                                           Case number (if known)
         Fuse Media, Inc.
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                ❑      A bankruptcy case.concerning debtor's affiliate, general partner, or partnership s pending_in this district...

12. Does the debtor own or      ■ No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                ❑Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention?(Check all that apply.)
                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           ❑ It needs to be physically secured or protected from the weather.
                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, orsecurities-related assets or other options).
                                           ❑ Other
                                           Where is the property?
                                                                            Number, Street, City, State &ZIP Code
                                           Is the property insured?
                                           ❑ No
                                           ❑ Yes. Insurance agency
                                                        Contact name
                                                        Phone


_ Statistical and administrative information

13. Debtor's estimation of              Check one:
    available funds
                                        ■ Funds will be available for distribution to unsecured creditors.
                                        ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         ~ 1.49                                           ❑ 1,000-5,000                              ❑ 25,001-50,000
    creditors                   ~ 50 99                                          D 5001-10,000                              ❑ 50,001-100,000
                                ❑ 100-199                                        ❑ 10,001-25,000                            ❑More than100,000
                                ❑ 200-999

15. Estimated Assets            ■ $0 - $50,000                                   ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                             ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                            ❑ $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                          ❑ $100,000,001 - $500 million              ❑More than $50 billion


16. Estimated liabilities       ❑ $0 - $50,000                                   ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ■ $50,001 - $100,000                             ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                            ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                          ❑ $100,000,001 - $500 million              ❑More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                   Case 19-10870                Doc 1        Filed 04/22/19                      Page 4 of 20

Debtor                                                                                                      Case number(+Iknawn)
          fuse Media, lnc.
          Plame



          Request for Relief, Declaration, and Signatures

                                                                                                                                                           or
WARNING -• Bankruptcy fraud is a serious crime. Making a false statement in connection tivith a bankruptcy case can result in fines up to ~50f},DDO
           imprisonment#or up to 20 years, or both. 18 U:S:G: §§-152, 1341, 1519, and 357E

97. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapfer of tiife 11, United States Code, specified in this petition,
    representative of debtor
                                  i have been authorized fa file This petition on behalf oC the debtor.

                                  i have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  1 declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on         ~~.L ~~~~               ...........
                                                   MMIDD/   Y

                                                                                                                  Miguel Roggera
                                  Signature f cut arize representative of debtor                                  Printed name

                                  Title   Chief F€nancial Officer and Secretary,




                                                                                                                   Date ~ 2~' ~
S8. Signature at attorney     X /s/James E. O'Neill __
                                Signature of attorney for debtor                                                        MM i DD f YYYY

                                  James E. O'tJefli
                                  Printed name

                                  Pachuiski Stan Zc~ iehf _& Jones LAP —                                         —          --------.._..._----------      ---
                                  Fi~m name

                                  919 N. Market Street
                                  17th Flpor
                                  Wilmin~ton,_DE 49899
                                  Number, Street, City, State &ZIP Code

                                   Contact phone     302-652-4100                           Email address    joneill@pszjlaw.com


                                   4042 DE
                                   Bar number and State




                                                                                                                                                                page 4
 O~cial Form 201                             Voluntary Petition for Nan-Endividuals filing for Bankruptcy
                   Case 19-10870      Doc 1     Filed 04/22/19      Page 5 of 20




                                      Rider i to Voluntary Petition

        On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the "Debtors"), filed a petition in this Court for relief under chapter
11 of title 11 of the United States Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting an order authorizing joint administration of the cases with that
of Fuse, LLC,the Lead Debtor for administrative purposes only.


FM Networks LLC
Fuse Finance, Inc.
Fuse Holdings LLC
Fuse Media,Inc.
Fuse Media, LLC
Fuse, LLC
JAAM Productions, LLC
Latino Events LLC
SCN Distribution, LLC




DOCS SF:98993.1 29402/001
                                     Case 19-10870                   Doc 1        Filed 04/22/19             Page 6 of 20




Qebtor name         fuse Media, inc.

 United States Bankruptcy Caurt for the:           DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                ❑ Check if this is an
                                                                                                                                  amended filing



Official Form 242
Declaration Under Penalty of Perjury for Nan-Individual Debtors                                                                                         ~zr~5
An indlvlduai who +s autharizQd to aci on behatf of anon-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that Is not included in the document, and any
amendments of those documents. This form must state the individual's position or retatianship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9tN1.

WARNING -- Bankruptcy fraud is a serious crime. Makinn a false statement, concealing property, or obtaining money ar property by fraud in
connection wEth a bankruptcy case can result in fines up to 5500,000 or imprisonment for up to 20 years, or both. T8 U.S.C. §§ 152, 1341,
1519, and 3571.


                pectaration and signature

        am the presictenl, another o~cer, or an authorizeii agent of the corporations a member or an authorized agent oC the partnership; or another
       individual serving as a representative of the debtor in this case.

         haue examined the information in the documents checked t~etow and i have a reasonable belief shat the information is true and corre~E:

        ❑         Schedule A/8: Assets—Real and Personal Property(Official Form 206A1B)
        ❑         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ❑         Schedule E/F: Creditors Who Have Unsecured Claims(O~cial Farm 206E/F)
        ❑         Schedule G;Executory Contracts and Unexpired leases (Official Farm 20fiG)
        ❑         Schedule H: Codebtors (Q~cial Form 2Q6H)
        p         Sumrnary of Assets and Liabilities for Nan-Individuals (Official Fnrm 206Sum)
        Q         Arr~ended Schedule
        ~         Chapter 17 or Chapter 9 Cases: List of Creditors Who Nave the 20 Largest Unsecured Claims and A~ Not Insiders (Offic+ai Form 2Q4)
        ~         Otherdocunient that requires a dectaraUon      Corporate Owrnership Statement; Equity Holders list; Creditor Matrix
                                                                 Certification

       i declare under penalty of perjury that the foregoing is true and correct.
                                                                                                            _.,--
        Executed on                               ~j                                         ~`~ ~~~~~pM~
                                                                     Sig ature of individ 1 sig i ng on Behalf of debtor

                                                                     Miguel Roggera
                                                                     Printed name

                                                                     Chief Financial QFficer and Secretary
                                                                     Position or relationship[a debtor




C?fficial Form 202                                            Declaration Under Penatty of Perjury for Non-individual Debtors
                                                                                                                                             8~s1 Gase Bankniptcy
Software Copyrrc~ht (c) 7996.2018 9es~ Cage,lLC - www.Gestcase.com
                Case 19-10870       Doc 1     Filed 04/22/19     Page 7 of 20




                              SECRETARY'S CERTIFICATE

                                              or
                                     FUSE MEDIA,INC.


                                         Apri122, 2019



        The undersigned hereby certifies that he is the duly elected and qualified Secretary of
Fuse Media, Inc., a Delaware corporation (the "Caanpany"}, and further certifies in such
.capacity that attached hereto as Exhibzt A is a true, complete and correct copy of resolutions of
the board of directors;of the Company. Such resolutions have not been amended, modified or
rescinded since their a ~ option and remain iri full force and effect as of the date hereof.

        IN WITNESS WHEREQF,the undersigned has executed this Secretary's Certificate as
of the date first set forth above.




                                              Name: Michael R ggero
                                              Title: Secretary
                 Case 19-10870     Doc 1    Filed 04/22/19    Page 8 of 20




                                         EXHIBIT A


                             Resolutions of Board of Directors off'

                                       Fuse Media,Inc.




ROCS LA:318959.3 29402/001
                  Case 19-10870      Doc 1    Filed 04/22/19     Page 9 of 20




                          I~ESULUTIONS QF BOARD OF DIRECTORS
                                            OF
                                    FUSE MEDIA,INC.
                                  (a Delaware corpaxation}

       The members of the Board of Directors {the "Board"} of Fuse Media, Inc., a Delaware
corporation f/k/a SiTV Media, Inc.(the "Company"},hereby adopt the following resolutions;

                WHEREAS, the Board has considered the financial and operational
        aspects ofthe Company's business;

               WHEREAS, the Board has reviewed the historical performance of the
        Company, the market for the Company's products and services, and the current
        and long-term liabilities ofthe Company;

                WHEREAS, the Board has, over the last several months, reviewed the
        matexials presented to it by the management off' and the advisors to the Company
        regarding the possible need to undertake a financial and operational restructuring
        of the Company;

                WHEREAS, the Board has analyzed each of the financial and strategic
        alternatives available to it, including those available on a consensual basis with
        the principal stakeholders of the Company, and the impact of the foregoing on the
        Company's business and its stakeholders;

                NOW, THEREFORE, BE IT RESOLVED, that i~ the judgment of the
         Board, it is desirable and in the best interests of the Company, its creditors,
         employees, stockholders and other interested parties that a petition be filed by the
         Company seeking relief under the provisions of chapter 11 of title 11 of the
         United States Code (the "Bankruptcy Cade") in the United States Bankruptcy
         Court for the L?istrict a~ Delaware (the "Bankruptcy Court");

                RESOLVED, that the officers of the Company (each, an "Authorized
         4f~cer") be, and each of them hereby is, authorized on behalf of the Company to
         execute, verify and file all petitions, schedules, lists, and other papers or
         documents, and to take and perform any and all further actions and steps that any
         such Authorized Officer deems necessary, desirable and proper in connection
         with the Company's chapter 11 case, with a view to the successful prosecution of
         such case;




 ROCS LA:318959.3 29402/001
                Case 19-10870      Doc 1    Filed 04/22/19     Page 10 of 20




              RESOLVED,that the Authorized Officers, on behalf of the Company, are
       authorized, ernpawered and directed to retain the law firm of Pachulski Stang
       Ziehl & Jones. LLP {"PSZ&J") as bankruptcy counsel to represent and assist the
       Company in carrying out its duties under chapter lI of the Bankruptcy Code, and
       to take any and all actions to advance the Company's rights in connection
       therewith, and the Authorized (officers are hereby authorized and directed to
       execute appropriate retention agreements, pay appropriate retainers prior to and
       immediately upon the filing of the bankruptcy, and to cause to be filed an
       appropriate application far authority to retain the services ofPSZ&J,

              RESOLVED,that the Authorized Officers, on behalf of the Company, are
       authorized, empowered and dixected to retain the services of FTI Consulting as
       the Company's financial advisor, effective as of the date the petition is Filed, and
       in connection therewith, the Authorized Officers are hereby authorized and
       directed to execute appropriate retention agreements, pay appropriate retainers
       prior to and immediately upon the filing of the bankruptcy, and to cause to be
       filed an appropriate application for authority to retain the services of FTI
       Consulting;

               RESQLVED,that the Authorized Officers, on behalf of the Company, are
       authorized, empowered and directed to retain the services of KCC as the
       Company's claims, noticing, solicitation agent and administrative advisor,
       effective as of the date the petition is filed, and in connection therewith, the
       Authorized Officers are hereby authorized and directed to execute appropriate
       retention agreements, pay appropriate retainers prior to and immediately upon the
       filing of the bankruptcy, and to cause to be filed an appropriate application far
       authority to retain the services of KCC;

                 RESQLVED,that the Authorized Officers of the Company be, and hereby
        a~'e, authorized and directed to employ any other professionals necessary to assist
        the Company in carrying out its duties under the Banlctuptcy Code; and in
        connection therewith, the officers of the Company are hereby authorized and
        directed to execute appropriate retention agreements, pay appropriate retainers
        prior to or immediately upon the filing of the chapter 11 case and cause to be filed
        appropriate applications with the Bankruptcy Court for authority to xetain the
        services of any other professionals, as necessary, and on such terms as are deemed
        necessary, desirable and proper;

               RESOLVED, that the Authorized Officers be, and each of them hereby is,
        authorized on behalf of the Company to take any and all actions, to execute,
        deliver, certify, file and/ax record and perform any and all documents, agreements,
        instruments, motions, affidavits, applications for approvals or rulings of
        governmental or regulatory authorities or certificates and to take any and all
        actions and steps deemed by any such Authorized Of#"icer to be necessary or
        desirable to can~y out the purpose and intent of each of the foregoing resolutions
        and to effectuate a successful chapter 11 case; and



DOCS LA:318959.3 29402/001
                 Case 19-10870    Doc 1    Filed 04/22/19    Page 11 of 20




              RESOLVED,that the Authorized Officexs be, and each of them hereby is,
       authorized on behalf of the Company to take any and all actions and steps deemed
       by any such Authorized Officer to be necessary or desirable to the develop, file
       and prosecute to confirmation of a chapter r 1 plan and related disclosixre
       statement;

              RESOLVED,that any and all actions heretofore taken by any Authorized
       Officer or the directors of the Company in the name and on behalf of the
       Company in furtherance of the purpose and intent of any or all of the foregoing
       resolutions be, and hereby are, ratified, confirmed, and approved in all respects;
       and

              RESOLVED,that the foregoing resolutions be filed with the records of the
        meetings of the Board.




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                                       Case 19-10870                Doc 1         Filed 04/22/19             Page 12 of 20


  Debtor name FuS@ Medla, II1C.
  United States Bankruptcy Court for the: District of Delaware
                                                                                 (state)
                                                                                                                                             ❑ Check if this is an
  Case number (If known): ~ 9'                                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims (on a Consolidated Basis) and Are Not Insiders                                                                                               12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.§ 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims, on a consolidated basis.


   dame of ~r~edito~r anc~ compteta          dame,f~tephone number, anc€ tJaturg otthe c1aIn~~#ndieata tf .~.~~Qunto€unsecured clam
   maiiinc~ address, in~it~ding zip co~iE    email adcEr~ss of creditor (for example, trada ,clalrn €s       if the c~air~ ~sfu4ly~nseci{led, fiik in only unsecured
                                             contact                     de6fs bank loans, !contingent, ' c~akrn a3rrocrnF. df clai,~ is partially sec~~eci, 81I [n total
                                                                         prafesstonaF         uniiquidat~c€ ctaErn ainounE ~r~tl dsd~ction for value of cn~fiaEerai
                                                                         services, ancf      , or disputed ~ or sefofi io caEculate unsecL~red claim.
                                                                         goveri~mertf
                                                                         cot~tracks}
                                                                                                             Total claim if       Deduction for (UnseEured claim
                                                                                                              partiatEy        ,value of
                                                                                                             secured           'cotiat8rat of
                                                                                                                                i seto#f
1 Showtime Networks Domestic ina Tran                          cquired                                                                                ~ $600,000.00
  2450 Colorado Ave, Suite 500 el:310-264-3585               Programming
  Santa Monica, CA 90404            INA.TRAN@CBS.COM
2 Buena   Vista Television         Kathleen   Castano         Acquired                                                                                  $402,266.00
  500 South Buena    Vista Street   el:  321-939-7736         Programming
  Burbank, CA 91521-3933           kathleen.z.castano@disney.
                                   com
    niversal City Studios            ttn: Michal Sziek            uired                                                                                 $386,733.34
    roductions                       el:760-231-0800             ;ramming
    0 Rockefeller Plaza, 15 Floor E iichal.szlek@nbcuni.com
    ew York, NY 10112
    omcast Spotlight                 atherine Brooks            ode Debt                                                                                $170,105.17
    3431 Collections Center Drive el: 1-888-877-9799
    hicago, IL 60693                 atherine Brooks@comcas
                                    .com
   Jletro Goldwyn Mayer Studios licholas Kaleel                cquired                                                                                  5150,000.00
   nc.                               el:310-586-8845           rogramming
   attn: Nicholas Kaleel            ~kaleel@mgm.com
   ?45 N. Beverly Drive
   ieverly Hills, CA 90210-5317
   akin Gump Strauss Hauer          ra S. Dizengoff                   Tonal Fees                                                                          $69,170.51
   one Bryant Park                  -el:212-872-1000
   Sank of America Tower            dizengoff@akingump.com
   dew York, NY 10036-6745
   adobe Systems Incorporated          x: 801-437-2883            er                                                                                          $60,000
   3900 Adobe Way                      ~ordus@adobe.com
   .ehi, UT 84043
   American Society Of                   Schwind                usic Licensing                                                                            $59,819.46
   ~omposers, Authors And                212-621-6461
   publishers                            wind@ascap.com
   1 Lincoln Plaza
   Vew York, NY 10023
                                      Case 19-10870                 Doc 1         Filed 04/22/19              Page 13 of 20
  Debtor        Fuse Media, (I1C.                                                                      Case number ~;rknoWn>~ 9-
                Name




   Name of creditor and ~ornp[eYe           Name,telephone number, and t~atu~a cif the eiaim~ Irit~EcaEe if  ~"+rrount of unsecured ctairt
   mailing ~dc~ress, in~it~ding zip c~t~e   fl+ttail ~~eiras~ of cr~c€it~r (far exarnpke, trade ciaitn is    !f the c3ains is f~iity unsecured, fiE( iri arty urrs~iu~~.i
                                            contact                        rfebts,'bankioai~s, contingent, ~ elaint aFr~o~int if ciafm is partially secured. fi€€ in tots! ',
                                                                            professions(        unii~uida[ed c3aim ~~nQunt and ckeduclkan for sr~l~~ of r -`i.,(,~ , f
                                                                           senrEces~ and        ,~r disguted or setoff to eaFculate ur~s~ cured ~laian
                                                                           gnverrztltent
                                                                           rnntrai:isl
                                                                                                                     Total claim,it i Deduc2ian for ~ Unsecured claim
                                                                                                                     part~alty      ;value of
                                                                                                                     secured        ! coliaterst 4r
                                                                                                                                      s~tt~Ef

9 Broadcast Music, Inc.             ohn Polly                  Music Licensing                                                                              $59,001.71
   7 World Trade Center              el:615-401-2950
   250 Greenwich Street           'polly@bmi.com
   New York, NY 10007-0030
10 Facebook Inc.                                               Other                                                                                            $40,000
   15161 Collections Center Drive
   Chicago, IL 60693
11 Epicor Software                 Fax: 512-356-0500           Software                                                                                     $38,367.00
   PO Box 204768                   BusinessOps@ep   icor.com
   Dallas, TX 75320-4768
12 ssociation of National         1Sarah Oltman                  rade Debt                                                                                  $25,000.00
     dvertisers, Inc.             ~'el: 212-697-5950
   708 Third Avenue, 33rd Floor ~soltman@ana.net
   New York, NY 10017             ~
13 Banijay Rights Limited             ndreas Lemos             Acquired                                                                                 I   $22,680.00
     he Gloucester Building          el:(+44) 20-7013-4000     Programming
    Kensington Village              Fax:(+44) 20-7013-4012
    London, England W14 8RF        finance@ban ijayrights.com
14 Defy Media, LLC                  Deborah Donaldson            rade Debt                                                                                  $21,044.30
     98 7th Avenue,   19th Floor     el:  212-244-4307
    New York, NY 10018              info@defymedia.com
                                     el:301-588-6767           Other                                                                                        $17,500.00
15 .Howard Foundation
   601 13th Street, NW              Fax: 301-588-6766
   ISuite 710 North                  -HOWARD.ORG
    Washington, DC 20005
16 Seville International              el: 514-878-2282          Acquired                                                                                    $11,250.00
     55 rue St. Antoine             sevilleinternational@films Programming
    Bureau 300                      evi►le.com
    Montreal, Canada H2Z 1J1
17 Creative Circle                    el:323-381-7909          Staffing                                                                                       $9,975.00
    PO Box 74008799                 COLLECTIONSL    A@CREATIVE
    Chicago, IL 60674-8799          CIRC~E.COM
                                    IMFSCUSTOMERSERVICE@I Storage                                                                                              $4140.22
 18 Iron Mountain
    PO Box 601002                   RONMOUNTAIN.COM
    Pasadena, CA 91189-1002
                                      el:212-966-4426           Staffing                                                                                      $3,044.80
 19 24 Seven, LGC
    105 Maxess Road                 Fax: 516-927-0501
    Suite 201
 ~ Melville, NY 11747
                                    'glick@vno.com              Rent                                                                                          $2,068.58
 20 One Penn Plaza, LLC
    Rec Acct
    PO Box 371486
    Pittsburgh, PA 15250-7486


                                                                                                                                   basis)                                page 2
 Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims(on a consolidated
 DOCS SF:99180.1
                                                                  Case 19-10870                                   Doc 1          Filed 04/22/19            Page 14 of 20
  Debtor                    Fuse Media, IIIC.                                                                                                       Case number oik~oWn>~ 9-



     t~arr~a of ~reditoc ~rtd cQ~ngiefe ' ~~nte> telephone nu,nt~sr, and t3atur~ o€the cEairr3~[ndieata if    Amount o1 unsacure~} ctefm
     mailing acidrgss,inct~dtng xip code- ~maii acldre~ss of creditor   (fare~samp`e, trade ~elaitr~ i~       if t~,~ ~l~hn is ful{y unsecured, ~iEi ire only u~~s~~.~,red
                                          cotYt~Ct                       dehYs,b~nk 3oens, 'contingerrC, Cl~iniamQunf 1f~laEi7t ispartialiy secured, flf in tatai' i
                                                                         prof$s5ionai          unliquidafad,cf~int amQant and ~#educlran Far value of ~, ~''~, ~.:~ ,t `'
                                                                         senrkces. and         , ar disputer; or setoff tQ ~axe~t2te unsecured ciaian_ '
                                                                         gaverrzn~enf
                                                                                                                              Ct?R(f1C#Sl

                                                                                                                                                                i Total claim, if    Qeduc4ian far ~ Unsecured claim
                                                                                                                                                                 seured             ' collateai or
                                                                                                                                                                                      sstofE
21 alent Hub Worldwide Inc.      Fax: 646-682-7424                                                                            Staffing                                                                   $1,935.75
  52 Vanderbilt Ave., Suite 1410
  New York, NY 10017
22   arner Bros Domestic Cable                                          Deanna Valdez            cquired                                                                                                 $1,522.38
   Distribution                                                          e1:818-954-4264        Programming
  4000 Warner Blvd, Bldg. 118                                           Deanna.Valdez@warnerbro
   Room 1062                                                            s,com
   Burbank, CA 91522-1181
23 ision Service Plan (CA)                                                                                                    Benefits                                     ~                             $1,019.22
   PO Box 45210
    an Francisco, CA 94145
24 Imagerights International, Inc.                                      support@imagerights.com Other                                           C,U, D                                                    $800.00
   105 Maxess Road, Suite 201
   Melville, NY 11747                                                   ~

                                                                            Fax:877-844-0201                                  Benefits                                                                    $561.22
25 floc
   1932 Wynnton Road
   Columbus, GA 31999-6005
                                                                                                                              Storage                                                                      $486.00
26 Public Storage
   3810 Eagle Rock Blvd
   Los Angeles, CA 90065

                                                                            el:516-746-7010                                   Office Supplies   ~                                                          $222.26
27 Coffee Distributing Corp.
   200 Broadway                                                          Fax: 516-742-7018
   PO Box 766
    Garden City Park, NY 11040- j                                                                                                                                                                    i
   1055
                                                                                                                              Storage                                                                      $190.53
28 GLOBE STORAGE AND MOVING info@globemoving.com
    CO. INC.
   665 BROADWAY -SUITE 301
    New York, NY 10012
__- ----_..._.__.__.._......_..---......._---.._._._...._...------_..._...__..__................_.----------....._ ........        g
                                                                                                                                                                                                           $163.22
29 Purchase Power                                                                                                             Posta e
    PO Box 371874
    Pittsburgh, PA 15250-7874

                                                                            info@xumo.com                                      Media Placement                                                             $145.56
30 UMO LLC
     PARK PLAZA
    uite 1500
  Irvine, CA 92614




                                                                                                                                                                                                                 page 3
Official Form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims(on a consolidated basis)
DOCS SF:99180.1
                  Case 19-10870       Doc 1    Filed 04/22/19       Page 15 of 20



                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

 FUSE MEDIA,INC.,                                      Case No. 19-         O

                                Debtor.

                  CORPORATE OWNERSHIP STATEMENT(RULE 7007.1)


              Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation's equity interests, or states that there are no entities to report
under FRBP 7007.1.


❑ None [check ifapplicable]

           Name:             Columbia Capital Equity Partners III(QP), L.P.
                             and affiliated entities
           Address:          Donald A. Doering
                             204 South Union Street
                             Alexandria, VA 22314

           Name:             Rhoe Ventures IV, LP and affiliated entities
           Address:          Jeffrey Martin
                             152 West 57t" Street, 23`d Floor
                             New York, NY 10019

           Name:             MSG
           Address:          Lawrence J. Burian
                             Two Pennsylvania Plaza
                             New York, NY 10121




DOCS SF:99180.1
                   Case 19-10870      Doc 1    Filed 04/22/19       Page 16 of 20



                         1N THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

 In re:                                              Chapter 11

 FUSE MEDIA,INC.,                                    Case No. 19-         (_)

                                Debtor.

                             LIST OF EQUITY SECURITY HOLDERS


Following is the list ofthe Debtor's equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



   Name and Last Known Address or Place of               Security        Number of        Kind of
             Business of Holder                           Class          Securities       Interest
BVI/Barshop
Bruce Barshop                                           Preferred          530,691
10001 Reunion Place, Suite 230
San Antonio, TX 78216
Columbia Capital Employee Investors III, LLC
Donald A. Doering                                       Preferred           5,785
204 South Union Street
Alexandria, VA 22314
Columbia Capital Equity Partners III (AI), LP
Donald A. Doering                                       Preferred          210,960
204 South Union Street
Alexandria, VA 22314
Columbia Capital Equity Partners III (Cayman), LP
Donald A. Doering                                       Preferred         2,097,098
204 South Union Street
Alexandria, VA 22314
Columbia Capital Equity Partners III(QP), L.P.
Donald A. Doering                                       Preferred         3,818,786
204 South Union Street
Alexandria, VA 22314
Columbia Capital Investors III, LLC
Donald A. Doering                                       Preferred          942,367
204 South Union Street
Alexandria, VA 22314
Dish
Ted Henderson                                           Preferred          3,061,531
9601 S. Meridian Boulevard
Englewood, CO 80112



 DOCS SF:99180.1
                   Case 19-10870   Doc 1   Filed 04/22/19      Page 17 of 20




     Nance and Last Known Address ar Place of       Security        Number of     Kind of
                   Business of Holder                Class          Sec~irities   Interest
DND
Thomas E. Dooley                                   Preferred          775,007
34 East 51st Street, 18 FL
New York, NY 10022
EchoStar
Ted Henderson                                      Preferred          954,466
9601 S. Meridian Boulevard
Englewood, CO 80112
HEG Interests, LLC(legacy JMJD Investments
Partnership)
Stephen R Gunter and Anthonie C. Badenhorst        Preferred          191,967
4265 San Felipe, Suite 900
Houston, TX 77027
JBG Interests, LLC (legacy JMJD Investments
Partnership)
Stephen R Gunter and Anthonie C. Badenhorst        Prefen•ed          191,967
4265 San Felipe, Suite 900
Houston, TX 77027
Llano Partners, Ltd.
Donna J. Charleson and G. Andrew Toups III         Preferred          767,865
701 North Post Oak Road, Suite 635
Houston, TX 77024
MSG
Lawrence J. Burian                                 Preferred         5,102,552
Two Pennsylvania Plaza
New York, NY 10121
Nuyorican Productions, Inc.
Jennifer Lopez
c/o Murphy &Kress                                  Preferred         2,037,697
2401 Main Street
Santa Monica, CA 90405
PPD
Phillippe P. Dauman                                Preferred          193,751
712 Fifth Avenue, Suite 3801
New York, NY 10019
Rho Ventures IV (QP), L.P.
 Jeffrey Martin
 152 West 57th Street                              Preferred          1,500,176
23rd Floor
New York, NY 10019
Rho Ventures IV GMBH & Co. Beteiligungs KG
 Jeffrey Martin
 152 West 57th Street                              Preferred          1,563,402
 23rd Floor
 New York, NY 10019                        __




 DOGS SP:99180.1
                    Case 19-10870    Doc 1    Filed 04/22/19      Page 18 of 20




     Name and Last Kno~~vn Address or Place of         Security        Nurnber of   Kind of
                    Business of Holder                  Class          Securities   Interest
 Rho Ventures IV Holdings LLC
 Jeffrey Martin
 152 West 57th Street                                 Preferred         1,388,401
 23rd Floor
 New York, NY 10019
 Rho Ventures IV, L.P.
 Jeffrey Martin
 152 West 57th Street                                 Preferred          283,849
 23rd Floor
 Ne~v York, NY 10019
 Rho Ventures N-A, L.P.
 Jeffrey Martin
 152 West 57th Street                                 Preferred          353,372
.23rd Floor
 New York, NY 10019
 Syndicated Communications Venture Partners IV, LP
 Terry Jones                                          Preferred         1,156,458
 4800 Hampden Lane, Suite 200
 Bethesda, MD 20814
 Syndicated Communications,Inc.
 Herb Wilkins, Jr.                                    Preferred          356,560
 2400 Boston Street, Suite 102
 Baltimore, MD 21224
 Time Warner
 Allison Goldberg                                     Prefen•ed         1,382,405
 One Time Warner Center
 New York, NY 10019
 Berto Guzman
 42 Mojave                                            Common              18,750
 Irvine, CA 92602
 Dan Cabrera
 745 E. 5th Street, Apt 47                            Common               229
 Azusa, CA 91702
 Edward Leon
 8637 Delmonico Ave                                   Common              4,750
 West Hills, CA 91304
 George Greenberg
 433 N. Doheny Drive #202                             Common             29,745
 Beverly Hills, CA 90210
 Greg Bunch
  1710 Redwood Way                                    Common               250
 U land CA 91784
 Julio Garcia
  1631 10th Street                                    Common              19,559
  Santa Monica, CA 90404
 Leo Perez
 531 Radcliffe                                        Common              8,500
 Pacific Palisades, CA 90272


  DOCS SP:99180.1
                   Case 19-10870   Doc 1   Filed 04/22/19   Page 19 of 20




    Naive and Last Known Address oi• Place of       Security     Number• of   Kind of
                  Business of Holder                 Class       Securities   Interest
Michael Schwimmer
12020 Guerin St.                                   Common          954,464
PHS
Studio Ci , CA 91604
Miguel Roggero
1480 Linda Ridge Road                              Common          195,587
Pasadena, CA 91103
Moctesuma Esparza
1201 W. 5th Street                                 Common          30,474
Los Angeles, CA 90017
NCLR
Charles Kamaski
Raul Yzaguirre Building                            Common           10,000
1126 16th Street N.W.
Washin on, DC 20036
Randy Lewis
2201 Pine Ave                                      Common          27,000
Manhattan Beach, CA 90266
Rori Peters
3408 Alana Drive                                   Common           4,625
Sherman Oaks, CA 91423
Sara Auspitz
12601 Matteson Ave,#8                              Common           13,039
Los An eles, CA 90066
SCN Enterprises
Jeff Valdez                                        Common          559,410
2129 Coldwater Canyon
Beverl Hills, CA 90210
Tracey McCormack
3219 Kelton Ave.                                   Common           50,934
Los Angeles, CA 90034




 Docs sr:99iao.i
                   Case 19-10870    Doc 1    Filed 04/22/19     Page 20 of 20



                      IN THE UNITED STATES BANKRUPTCY COURT

                           FOR THE DISTRICT OF DELAWARE

 In re:                                            Chapter 11

 FUSE MEDIA,INC.,                                  Case No. 19-       (_)

                              Debtor.

                        CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the "Debtor") hereby certifies that the CNedito~ Mat~zx submitted herewith contains the names
and addresses of the Debtor's creditors. To the best of the Debtor's knowledge, the CNedito~
Matrix is complete, correct, and consistent with the Debtor's books and records.

               The information contained herein is based upon a review ofthe Debtor's books and
records as of the petition date. However, no comprehensive legal and/or factual investigations
with regard to possible defenses to any claims set forth in the CreditoN MatNix have been
completed. Therefore, the listing does not, and should not, be deemed to constitute:(1) a waiver
of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or(3)a waiver of any other right or legal position ofthe Debtor.




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